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                       IN THE UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                              :
                                                    :
Hampton Island Owners’ Association, Inc.,           :      Chapter 11
                                                    :
      Debtor.                                       :      Case No. 15-64711
____________________________________                :
                                                    :
Spottail Landing, LLC, Copeland, LLC,               :
The Kenneth Brooks and Anita Wolke Brooks           :
Family, LLC, Lee Burton, Thomas Burton,             :
Rebecca Talman, Edward Tallman,                     :
HAOP, LLC, and HI, LLC (directly and on             :
Behalf of The Hampton Island Owners’                :
Association, Inc. and Hampton Island Club,          :
LLC,                                                :
        Plaintiffs,                                 :
                                                    :
v.                                                  :      NOTICE OF REMOVAL
                                                    :
The Hampton Island Owners’ Association, Inc.,       :
The Hampton Island Club, LLC, Liberty Capital,      :
LLC, Hampton Island, LLC, Hampton Island            :
Management, Inc., Fulcrum Loan Holdings, LLC        :
and Ronald S. Leventhal                             :
                                                    :
         Defendants.                                :


                                    NOTICE OF REMOVAL

         Hampton Island Owners’ Association, Inc. (the “Movant”), as defendant in Georgia Superior

Court of Fulton County (the “Superior Court”), Case No. 2015CV263521 (the “Removed Case”),

hereby removes the Removed Case to the United States Bankruptcy Court for the Northern District

of Georgia (the “Bankruptcy Court”).

         The Removed Case was originally commenced in the Superior Court of Liberty County, Case

No. 2015-V-651-JS, and was subsequently removed to the Superior Court of Fulton County. On

August 3, 2015, the Movant commenced Chapter 11, Case No. 15-64711 (the “Bankruptcy Case”)

in the Bankruptcy Court in the Northern District of Georgia, Atlanta Division.

          The Removed case is a case related to the Bankruptcy Case. As such, the United States
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District Court for the Northern District of Georgia (the “District Court”) has jurisdiction of the

Removed Case pursuant to 28 U.S.C. § 1334(b). Therefore, pursuant to 28 U.S.C. § 1452(a), the

Removed Case may be removed to the District Court.

       Pursuant to 28 U.S.C. § 157, the District Court may refer the Removed Case to the

bankruptcy judges for the district. The District Court has referred to the bankruptcy judges for this

district all cases under Title 11 and all proceedings under Title 11 or arising in or related to a case

under Title 11. That includes the Removed Case.

       As permitted by Bankruptcy Rule 9027(a)(2), this Notice of Removal is being filed

within 90 days after the order for relief in the Bankruptcy Case.

       Core/Non-Core Status of Removed Case.

       The Removed Case is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(a).

Pursuant to 28 U.S.C. § 157(c)(2), the Movants do consent to the District Court’s referral of the

Removed Case to the Bankruptcy court to hear and determine and to enter appropriate orders and

judgments, subject to review under 28 U.S.C. § 158. Pursuant to Bankruptcy Rule 9027 (a)(1),

the Movants do consent to the entry of final orders of judgments by the bankruptcy judge.

       Process and Pleadings.

       This notice is accompanied by copies of all process, pleadings (as narrowly defined by

F.R.Civ.P. Rule 7(a)) and minute entries and orders filed prior to removal.

       Filing in Superior Court.

       Promptly after the filing hereof, the undersigned shall file a copy of this notice with the

Clerk of the Superior Court of Fulton County.


       DATED: August 3, 2015


                                                              /s/ Will Geer
                                                       Attorney for Movant
                                                       Will B. Geer
                                                       Georgia Bar No. 940493
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